       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                          NESRIEN AZURIN,
                             Appellant,

                                      v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-0184

                           [August 22, 2024]

  Appeal from the County Court for the Fifteenth Judicial Circuit, Palm
Beach County; Luis Delgado, Judge; L.T. Case No. 502023CA013537A.

  Nesrien Azurin, Miami, pro se.

   Ashley Moody, Attorney General, Tallahassee, and Kimberly T. Acuña,
Assistant Attorney General, West Palm Beach, for appellee.

PER CURIAM.

  Affirmed.

MAY, LEVINE and KUNTZ, JJ., concur.

                          *           *         *

  Not final until disposition of timely filed motion for rehearing.
